                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                                 Plaintiff,      )
                                                 )
                 v.                              )        No.07-00115-02-CR-W-NKL
                                                 )
JOSE ESTRADA,                                    )
                                                 )
                                 Defendant.      )


                                REPORT AND RECOMMENDATION
                                 CONCERNING PLEA OF GUILTY

         The Defendant, by consent, has appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule

72(j)(26), and 28 U.S.C. § 636, and has entered a plea of guilty to Counts 1, 5, 6, 9 and 18 of the

Indictment. The defendant agrees to forfeit to the United States the property described in the

forfeiture allegation in the Indictment. After cautioning and examining the Defendant under oath

concerning each of the subjects mentioned in Fed.R.Crim.P. 11, I determined that the guilty pleas are

knowledgeable and voluntary and that the offenses charged are supported by an independent basis in fact

containing each of the essential elements of such offenses. A record was made of the proceedings and a

transcript is available. I therefore recommend that the pleas of guilty be accepted and that the Defendant

be adjudged guilty and have sentence imposed accordingly.

         Failure to file written objections to this Report and Recommendation within ten (10) days from

the date of its service shall bar an aggrieved party from attacking such Report and Recommendation

before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).


                                                          s/ SARAH W. HAYS
                                                          SARAH W. HAYS
                                                          United States Magistrate Judge
Dated:    February 28 , 2008




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